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                                 #:13249




                     EXHIBIT A
     Case 8:16-cv-01440-JLS-DFM Document 498-1 Filed 12/17/20 Page 2 of 2 Page ID
                                      #:13250




StatementDate: 06/08/14                                         Previous Balance                            0.00
Page 1 of 2 for:                                                Payments                               -46,47
DONEYDA PEREZ                                                  Current Charges & Fees                   66.99
For Sarvill9 at.                                                Adjustments !k Credits                 -11.00
                                                                To1ms                                       0.48
                                                                Amount Duo                              $0.00

Activity
Start     End        Description                                                                      Amount
                     Previous Balance                                                                       o.oo
08/06                Payment, Thank You - VISA                                                         -46.47

                      CurNnt Ch11rges for Sen,h:e Period 06/06/14 • D7/04/ 14                                                    Comun(quete coo oosotro1 Uamando al
06/06     07/04      OPTIMO        MAS Monthly                                                          60.99                    1..888-388-66:Zl
                     Fees
06/06                PrlmorvTV                                                                              6.00                 En esu momeoto no hay saldo
                     A~ull1menu & Credits                                                                                        pendiente de pago.
06/06     07/04      OPTIMO MAS 36 Mo Instant Rebate:Mos 13--36                                                                  E!rte estado de cuenta es solo para su
                                                                                                            -6.00 Credit
08/06                Primary TV Free                                                                        •6.00 Credit         inform.ecioo.

                                                                                                            0.48                 Invite Amigos a DIRECTV y J\Jlorre
                                                                                                              .00                EUos se illscribeu en el SSS-566-4388
                                                                                                                                 y ud. gaaa $ l 00 de credito 1m la factura.
                                                                                                                                 Solo 11\l8vos clieute~. Hay condicionos.
Reduua la cantidad de papel qull reclhe por correo - jobt.enga esta factum
electr6aicamento! Para cambier a faoturaci6n electronics. solo ntilice 11u informacion de
cuonta indic111la arriba para rogistrarse en DIRECTV.com, luego sig11 las indicacioaes faciles
de "Go PapetlMs". Su factura menrual le sen\ eoviada por ~ eloctr6uico y podra
pagarla por Cutlllllet 011 cual.quier t0.0meoto.




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                                                                                                                                                             1234




                                                                              DATE DUE          ACCOUNT NUMBER                  AMOUNT DUE             PAYMENT ENCLOSED
                                                                         No Payment Due             70711709                   No Payment Due
 C    Note my change of address on raver.ia side.                                  (714) 875-3829
     DO NOT WRll'f OTIIER COMMENTS ON THIS FORM
                                                                                                       CONFIRMACl6N de su suscripciiln al Pago Automatica de
                                                                                                       Factura con TARJETA DE CR~DITO. El pago se cobro en esta
     #BWNHPWR                                                                                          facha de racturacion. Ver arriba.
     #PGPGAAGPIS#
     AB 02 001557 26998 B 9 B                                                                          DIRECTV
     DONEYDA PEREZ                                                                                     POBOX64000
                                                                                                       LOS ANGELES CA 90064-1000



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